                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                          Plaintiff,               )
                                                   )
       vs.                                         )      No. 21-03023-01-CR-S-SRB
                                                   )
CHANDLER DURHAM,                                   )
                                                   )
                          Defendant.               )


                         ACCEPTANCE OF PLEA OF GUILTY AND
                              ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to the Indictment

filed on February 23, 2021, is now Accepted and the Defendant is Adjudged Guilty of such

offense. Sentencing will be set by subsequent Order of the Court.




                                                          /s/ Stephen R. Bough
                                                         STEPHEN R. BOUGH
                                                   UNITED STATES DISTRICT JUDGE




Date: October 27, 2021




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